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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

 CHICAGO WOMEN IN TRADES,

          Plaintiff,
                                                 Case No. 1:25-cv-02005
 v.
                                  Judge: Hon. Matthew F. Kennelly
 PRESIDENT    DONALD   J.  TRUMP,
 DEPARTMENT OF LABOR, ACTING JURY TRIAL DEMANDED
 SECRETARY OF LABOR VINCENT
 MICONE, OFFICE OF MANAGEMENT
 AND BUDGET, DIRECTOR OF THE
 OFFICE OF MANAGEMENT AND BUDGET
 RUSSELL VOUGHT, U.S. DEPARTMENT
 OF JUSTICE, ATTORNEY GENERAL OF
 THE U.S. DEPARTMENT OF JUSTICE
 PAMELA BONDI,

          Defendants.



                            DEFENDANTS’ NOTICE OF APPEAL

         PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Seventh Circuit from this Court’s Memorandum Opinion and Order. See ECF

Nos. 68 & 69.



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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2025, I electronically filed this document with the Court by

using the CM/ECF system, and that this document was distributed via the Court’s CM/ECF system.


                                                     /s/ Pardis Gheibi




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